August 19, 2019

Honorable Robert Conrad
United States District Court

401 West Trade Street, Room 210
Charlotte, NC 282802

Re: Joseph F. Wiseman, Jr.

Your Honor,

I am writing in support of my husband of almost 30 years, Joseph Francis Wiseman, Jr.
We met in August of 1988. It was the relationship that was never supposed to happen
or, if it did, it was not supposed to last. Joe grew up in New Jersey and went to
undergrad at Drexel University in Philadelphia - the same place where his dad received
his engineering degree. Upon graduation, he moved to Chapel Hill, NC to get his
master’s in Environmental Engineering. He got his first job at Camp, Dresser and
McKee in Raleigh, but he soon realized that having an MBA would make him more
valuable at work. So, back to UNC he went to get his MBA, working full time and
studying for his MBA at night.

I, on the other hand, am a native North Carolinian. I grew up in Cabarrus County and
received my associate degree in Dental Hygiene from Central Community College. Never
once in my life did I aspire to marry someone from New Jersey, but as I told my mother,
Joe was different. From day one, he was kind, funny, respectful and quiet — he let me do
most of the talking. For someone like me that has the gift of gab, we made the perfect
couple. We had a long-distance relationship until we married on May 5, 1990. Joe was
29, and I was 27 years old.

Married life was everything I dreamt it would be, and more. I was living my dream of
being married to my best friend. We settled into married life in our tiny one-bedroom
apartment in Raleigh. We were ready to settle down and start a family. Our prayers
were answered on September 21, 1993 when we welcomed our first son, Joseph. Two
and a half years later, Joseph became a big brother to Patrick.

Life was wonderful for our family. Our house was filed with sports balls, Legos,
firetrucks, and dinosaurs. I worked two days a week as a dental hygienist while Joe’s
career was blossoming at CDM. It was a very simple time in our lives. We didn’t have
all the extras that many of our friends had, but for us, me staying at home with the
children was more important than having a larger bank account. Joe felt completely
satisfied with our family of four, but in my mind, I did not have a peace about our family
being complete. For years I pushed for another baby, but Joe was more cautious about
it. One day our Pastor’s wife suggest that I pray for God to either change my heart or
Joe’s heart about that third child. Thankfully, God changed Joe’s heart, and three
months later, we excitedly announced that we would be welcoming our third child into
our family. Caroline was born in September 2001. We immediately knew after she was
born that, at last, our family was complete.
Our family is very close, and we did as much together as we possibly could. As the boys
grew and got more involved in sports, we always went to their practices and games. If
only one child had a game or practice, then the rest of the family would go. We only
divided and conquered when hecessary. I would sit in the bleachers with Caroline and
read, teach her math, color and make macramé potholders for the other moms on the

ladder to not only videotape his sons, but the entire games. He would go home and
immediately download the tapes to share with the other parents, so they could re-live
their son’s homerun, double play, or that final strikeout. To this day, families still thank
him for capturing all those special moments that all too soon have become a faint
memory. Recently, a father of one of Patrick’s high school teammates ran into me at
Publix and specifically asked me to thank Joe for videotaping all the high school baseball
games — especially the 2013 5A State Championship game. What a treasured memory
that all can go back and re-live, especially now that all the players have graduated from
college and most no longer play.

Joe was blessed to take his sons to play at Cooperstown Dream Park 5 times between the
two of them. We built a batting cage in an unfinished part of our basement. Nightly,
Joe would tee up buckets of balls for the boys to hit. The one and only time he decided
to try something different and take the boys to the YMCA to hit, Joseph accidently broke
Joe’s nose, causing an unforeseen surgery. Although it was traumatizing to say the least,
Joe never let that stop nor slow him down.

Once our sons were in high school, it was becoming evident that Joseph and Patrick had
the skill to play baseball at the next level. Many smaller colleges and some Ivy League
schools were interested in J oseph, but in the end, he decided to be a preferred walk on
for Georgia Tech. He liked the idea of getting a stellar education and being close enough
to home that his family could continue to come watch and support him. Patrick, for his
part, was contacted by every D1 ACC and many SEC schools, but due to his close
relationship with his brother, sister and parents, he also chose Georgia Tech. We were
truly living a dream — both sons playing on the same college team only 45 minutes from
our house. Because we were so close by, we drove down for practices, scrimmages,
games and, of course, for those times where we just wanted a “fix” of our children. Now
Joseph wears his ACC baseball championship ring from 2013, and Patrick has his 2013
5A State Championship baseball ring. Joe and I are so proud to have raised such
talented and well-rounded young men.

Caroline has always been every parent’s dream. Even from preschool, she was that
silent leader in school. She received the coveted Principal’s Award every single year in
elementary school. This award is given to only one girl and one boy from each class.
Early on in life, it didn’t appear that sports had caught her eye, except to be the most
enthusiastic baseball fan of her brothers. No one can call a strike like her! Once she hit
middle school, though, she decided to give playing volleyball a try — her brothers told
her that all the good and smart girls play volleyball. And it didn’t hurt that she towered
over all her friends in middle school!

Not to be outshone by her brothers’ baseball achievements, Caroline’s team won the 6A
State Volleyball Championship in 2018, and Caroline now adds that championship ring
to the family collection. You better believe that Joe supported Caroline all the way and,
of course, proudly captured all these championship games/matches on video.

Upon entering high school, she made the varsity volleyball team at Pope High School as
a freshman and yes, we have videos of all her matches, too. Academics, however,
continued to be Caroline’s primary interest. She has gone onto serving as the President
of the National Honor Society, Board Member of Student Government, Board Member
of Fellow Christian Athletes, member of the Math Honor Society, the Drama Club, the
Foreign Language Club, and the Spanish Honor Society. This Fall she will apply to
colleges, including Georgia Tech, University of Georgia and Clemson. Asa deeply
faithful girl, she trusts that the Lord will place her at the school where He needs her
most.

Judge Conrad, I have told you the story of our loving family because I want you to have
the full picture of who Joe really is and how much we love him and need him. I know
that Joe has made some bad choices that have shocked and humiliated us all, but we
will not allow this extremely challenging public spectacle to destroy our family. Through
everything - even through this — our family desperately loves and supports each other-
always. Joe is such an important, central part of our tight-knit family, and we cling to
Joe’s love and loyalty to all of us.

Anyone can say they are sorry, but Joe has shown us all how truly and deeply sorry he
really is. I have personally witnessed the pain, regret, and humiliation that my husband
carries around with him now, and it is heartbreaking. He has sought our forgiveness,
and we have forgiven him. He is a man who deserves and has earned our forgiveness,
our support, and our love. I know there will be a time when this nightmare is behind us
and we start to rebuild, but none of us will ever fully be able to erase the deep scar that
this situation and these choices will permanently leave on Joe and on our family. We
will survive and find a way for this to bring our family even closer — but nothing can
change the fact that we will all have to live with the damage that this has done for the
rest of our lives.

And although I know that Joe’s bad decisions will have consequences, I am devastated
by the idea of him being separated from our family. The idea that he will miss Caroline’s
senior year in high school and going off to college, that he could miss Patrick’s wedding
or even possibly the birth of his first grandchild, not to mention missing these treasured
years with his 85-year-old mother and mother-in-law — it is devastating and absolutely
breaks all of our hearts. We are all simply heartbroken.

And given all of Joe’s serious health issues (serious side effects from his diabetes,
numerous skin cancers), I cannot help but be all but frantic about what fate might befall
him if and when he is incarcerated. I hope and pray that Joe, and all of us, will find a
way to come through this experience intact and stronger for it. I know that this is in the
Lord’s hands. But we are anxious and frightened for Joe.
My prayer, Judge Conrad, is that before you make your final decision on my husband’s
future, you carefully consider how completely inconsistent this mistake that Joe has
made is with his unbroken history as a loving, devoted family man who has always tried
his very best to put his family and faith first. He has at times fallen short, as we all have.
But the times he has succeeded so far outnumber and outweigh his failures.

Thank you for taking the time to read my letter, and I pray that you, Judge Conrad, are
filled with Godly wisdom.

Respectfully,

Christie Wiseman
